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UNITED STATES DISTRICT COURT                              EASTERN DISTRICT OF TEXAS


BILLY R. MELOT,                                 §
                                                §
                Petitioner,                     §
                                                §
versus                                          §   CIVIL ACTION NO. 1:20-CV-227
                                                §
WARDEN, FCI BEAUMONT - LOW,                     §
                                                §
                Respondent.                     §

                MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                   JUDGE’S REPORT AND RECOMMENDATION
         Petitioner Billy R. Melot, an inmate at the Federal Correctional Complex in Beaumont,

Texas, proceeding pro se, brought this petition for writ of habeas corpus pursuant to 28 U.S.C.

§ 2241.

         The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this court.

The magistrate judge recommends dismissing this petition without prejudice.

         The court has received and considered the Report and Recommendation of United States

Magistrate Judge, along with the record, pleadings and all available evidence. No objections to

the Report and Recommendation of United States Magistrate Judge were filed by the parties.

                                           ORDER
         Accordingly, the findings of fact and conclusions of law of the magistrate judge are

correct, and the report of the magistrate judge is ADOPTED. A final judgment will be entered

in this case in accordance with the magistrate judge’s recommendation.


          SIGNED at Beaumont, Texas, this 20th day of October, 2020.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE
